Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 1 of 33




                         FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         NO ON E, SAN FRANCISCANS     No. 22-15824
         OPPOSING THE AFFORDABLE
         HOUSING PRODUCTION ACT;    D.C. No. 3:22-cv-
         EDWIN M LEE ASIAN PACIFIC     02785-CRB
         DEMOCRATIC CLUB PAC
         SPONSORED BY NEIGHBORS FOR
         A BETTER SAN FRANCISCO         OPINION
         ADVOCACY; TODD DAVID,

                      Plaintiffs-Appellants,

          v.

         DAVID CHIU, in his official capacity
         as San Francisco City Attorney; SAN
         FRANCISCO ETHICS
         COMMISSION; BROOKE JENKINS,
         in his official capacity as San
         Francisco District Attorney; CITY
         AND COUNTY OF SAN
         FRANCISCO,

                      Defendants-Appellees.

               Appeal from the United States District Court
                 for the Northern District of California
               Charles R. Breyer, District Judge, Presiding
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 2 of 33
         2                      NO ON E V. DAVID CHIU


                   Argued and Submitted December 9, 2022
                          San Francisco, California

                                Filed March 8, 2023

             Before: Susan P. Graber, Ronald M. Gould, and Paul J.
                           Watford, Circuit Judges.

                             Opinion by Judge Graber


                                   SUMMARY *


                                    Civil Rights

             The panel affirmed the district court’s denial of
         Plaintiffs’ motion for a preliminary injunction seeking to
         enjoin enforcement of a San Francisco ordinance requiring
         that “all committees making expenditures which support or
         oppose any candidate for City elective office or any City
         measure” must comply with the City’s new disclaimer
         requirements, in addition to California’s requirements.” S.F.
         Campaign & Governmental Conduct Code § 1.161(a).
             Under California law, certain political advertisements
         run by a committee must name the committee’s top
         contributors. After the passage of Proposition F, referred to
         by proponents as the “Sunlight on Dark Money Initiative,”
         the City and County of San Francisco added a secondary-


         *
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 3 of 33
                             NO ON E V. DAVID CHIU                    3


         contributor disclaimer requirement that compels certain
         committees, in their political advertisements, also to list the
         major donors to those top contributors. Plaintiffs, who
         supported the passage of a ballot measure in the June 7, 2022
         election, alleged that the secondary-contributor disclaimer
         requirement violated the First Amendment, both on its face
         and as applied against Plaintiffs.
            The panel first determined that even though the June
         2022 election had occurred, this appeal was not moot
         because the controversy was capable of repetition yet
         evading review.
             The panel held that Plaintiffs had not shown a likelihood
         of success on the merits. Applying exacting scrutiny, the
         panel held that San Francisco’s requirement was
         substantially related to the governmental interest in
         informing voters of the source of funding for election-related
         communications. As this court previously recognized,
         providing information to the electorate may require looking
         beyond the named organization that runs an
         advertisement. In the context of San Francisco municipal
         elections, Defendants showed that donors to local
         committees are often committees themselves and that
         committees often obscure their actual donors through
         misleading and even deceptive committee names. Because
         the interest in learning the source of funding for a political
         advertisement extends past the entity that is directly
         responsible, the challenged ordinance was substantially
         related to the governmental interest in informing the
         electorate.
             The panel next held that the ordinance did not create an
         excessive burden on Plaintiffs’ First Amendment rights
         relative to the government interest and was sufficiently
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 4 of 33
         4                   NO ON E V. DAVID CHIU


         tailored. Thus, the panel was not persuaded that the
         secondary-contributor requirement was an impermissible
         burden on speech because the size of the disclaimer was
         excessive with respect to larger ads. And given Defendants’
         position that it would not enforce the challenged ordinance
         with respect to shorter ads, the district court was within its
         discretion to conclude that any burden on speech did not
         require a preliminary injunction in this instance. Plaintiffs’
         argument that the secondary-contributor requirement
         violated their right to freedom of association was likewise
         insufficient to outweigh the strength of the governmental
         interests. The district court was within its discretion to
         conclude that the secondary-contributor requirement had a
         scope in proportion to the City’s objective.
             Addressing the remaining preliminary injunction factors,
         the panel concluded that without an injunction, Plaintiffs
         likely would be injured by the loss of some First Amendment
         freedoms, but that injury would be modest. Defendants,
         however, established that there is a strong public interest in
         providing voters with the information of who supports ballot
         measures. Thus, the public interest and the balance of
         hardships weighed in favor of Defendants.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 5 of 33
                                 NO ON E V. DAVID CHIU                           5


                                      COUNSEL

         Alan Gura (argued), Institute for Free Speech, Washington,
         D.C.; James R. Sutton, The Sutton Law Firm, San Francisco,
         California; for Plaintiffs-Appellants.
         Tara M. Steeley (argued) and Wayne K. Snodgrass, Deputy
         City Attorneys; David Chiu, City Attorney; Office of the San
         Francisco City Attorney; San Francisco, California; for
         Defendants-Appellees.
         Tara Malloy and Megan P. McAllen, Campaign Legal
         Center, Washington, D.C., for Amicus Curiae Campaign
         Legal Center.


                                       OPINION

         GRABER, Circuit Judge:

             In response to the growing prevalence of money in
         politics, many governments have required groups that run
         political advertisements to identify their funding sources
         publicly.      Under California law, certain political
         advertisements run by a committee must name the
         committee’s top contributors. The City and County of San
         Francisco adds a secondary-contributor disclaimer
         requirement that compels certain committees, in their
         political advertisements, also to list the major donors to those
         top contributors. 1

         1
           The parties in this case distinguish between “disclaimers” (statements
         at the time of the advertisement, identifying who is funding the ad) and
         “disclosures” (public reports filed with government entities). Although
         that distinction is recognized in the case law, see, e.g., Citizens United
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 6 of 33
         6                      NO ON E V. DAVID CHIU


             Plaintiffs—a political committee that runs ads, the
         committee’s treasurer, and a contributor to the committee—
         seek to enjoin enforcement of San Francisco’s ordinance.
         They allege that the secondary-contributor requirement
         violates the First Amendment. The district court held that
         Plaintiffs are unlikely to succeed on the merits and denied
         Plaintiffs’ request for a preliminary injunction. Reviewing
         the denial of a preliminary injunction for abuse of discretion
         and the underlying legal principles de novo, Fyock v.
         Sunnyvale, 779 F.3d 991, 995 (9th Cir. 2015), we agree with
         the district court. Plaintiffs have not shown a likelihood of
         success on the merits. San Francisco’s requirement is
         substantially related to the governmental interest in
         informing voters of the source of funding for election-related
         communications. The ordinance does not create an
         excessive burden on Plaintiffs’ First Amendment rights
         relative to that interest, and it is sufficiently tailored to the
         governmental interest. Accordingly, we affirm.
                  FACTUAL AND PROCEDURAL HISTORY
             A.       California Political Reform Act
             The California Political Reform Act defines a
         “committee” as “any person or combination of persons”
         who, in a calendar year, receives contributions totaling
         $2,000 or more; makes independent expenditures totaling
         $1,000 or more; or makes contributions totaling $10,000 or
         more to, or at the behest of, candidates or committees. Cal.
         Gov’t Code § 82013. A “primarily formed committee” is


         v. FEC, 558 U.S. 310, 366–67 (2010), some courts use the terms
         interchangeably. Where relevant, we clarify whether laws considered by
         prior courts required disclosures or disclaimers, consistent with the
         foregoing definitions.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 7 of 33
                             NO ON E V. DAVID CHIU                    7


         defined as a committee that receives $2,000 or more in
         contributions in a calendar year and is formed or exists
         primarily to support or oppose a single candidate, a single
         measure, a group of candidates being voted on in the same
         election, or two or more measures being voted on in the same
         election. Id. § 82047.5. Every committee, whether or not it
         is primarily formed, must file a statement of organization
         with the California Secretary of State and the relevant local
         filing officer, id. § 84101(a), which in this case is the San
         Francisco Ethics Commission. See S.F. Campaign &
         Governmental Conduct Code (“S.F. Code”) § 1.112(a)(1).
             Committees must file semiannual statements, Cal. Gov’t
         Code § 84200(a), and must file two preelection statements,
         one at least 40 days before an election and the second at least
         12 days before an election, id. §§ 84200.5, 84200.8. Among
         other requirements, each of those campaign statements must
         include “[t]he total amount of contributions received during
         the period covered by the campaign statement and the total
         cumulative amount of contributions received.”               Id.
         § 84211(a). If any donor contributes money to the
         committee during a reporting period and has given aggregate
         contributions of $100 or more, then the report must include
         that donor’s name, address, occupation, and employer, plus
         the dates and amounts of the donor’s contributions during
         the period and the donor’s total aggregate contributions. Id.
         § 84211(f).
             California law also requires specific disclaimers in
         political advertisements.   Id. §§ 84501–84511.      An
         “advertisement” is defined as “any general or public
         communication that is authorized and paid for by a
         committee for the purpose of supporting or opposing a
         candidate or candidates for elective office or a ballot
         measure or ballot measures.”         Id. § 84501(a)(1).
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 8 of 33
         8                   NO ON E V. DAVID CHIU


         Advertisements must include the words “[a]d paid for by
         [the name of the committee].” Id. § 84502(a)(1). They also
         must state “committee major funding from,” followed by the
         names of the top contributors to the committee. Id.
         § 84503(a). “Top contributors” are defined as “the persons
         from whom the committee paying for an advertisement has
         received its three highest cumulative contributions of fifty
         thousand dollars ($50,000) or more.” Id. § 84501(c)(1).
         Depending on the medium, the advertisement must follow
         certain formatting requirements. See id. §§ 84504.1 (video);
         84504.2 (print); 84504.4 (radio and telephone); 84504.3
         (electronic media); 84504.6 (online platforms).
             B.     San Francisco’s Proposition F
             On November 5, 2019, San Francisco voters passed
         Proposition F. Referred to by proponents as the “Sunlight
         on Dark Money Initiative,” Proposition F changed the
         disclaimer requirements for advertisements paid for by
         independent political committees, among other provisions.
         After the passage of Proposition F, “all committees making
         expenditures which support or oppose any candidate for City
         elective office or any City measure” must comply with the
         City’s new disclaimer requirements, in addition to the state’s
         requirements. S.F. Code § 1.161(a).
             Under the new ordinance, ads run by primarily formed
         independent expenditure and ballot measure committees
         must include a disclaimer listing their top three contributors
         of $5,000 or more. Id. § 1.161(a)(1). Additionally, “[i]f any
         of the top three major contributors is a committee, the
         disclaimer must also disclose both the name of and the dollar
         amount contributed by each of the top two major
         contributors of $5,000 or more to that committee.” Id. The
         ad also must inform voters that “[f]inancial disclosures are
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 9 of 33
                             NO ON E V. DAVID CHIU                    9


         available at sfethics.org” or, if an audio ad, provide a
         substantially similar statement that specifies the website.
         S.F. Code § 1.161(a)(2).
             Printed disclaimers that identify a “major contributor or
         secondary major contributor” must list the dollar amount of
         relevant contributions made by each named contributor. S.F.
         Code § 1.161(a)(1); S.F. Ethics Comm’n Reg. (“S.F. Reg.”)
         1.161-3(a)(4). Print ads must include the disclaimers in text
         that is “at least 14-point, bold font.”           S.F. Code
         § 1.161(a)(3). Audio and video advertisements must begin
         by speaking the required disclaimers of major contributors
         and secondary major contributors, but need not disclose the
         dollar amounts of those donors’ contributions.              Id.
         §§ 1.161(a)(5); 1.162(a)(3). In addition, video ads must
         display a text banner that contains similar information to that
         required in print ads. Cal. Gov’t Code § 84504.1; S.F. Code
         § 1.161(a)(1).
             Violations of the City’s campaign finance laws are
         punishable by civil, criminal, and administrative penalties.
         S.F. Code § 1.170. A committee’s treasurer may be held
         personally liable for violations by the committee. Id.
         § 1.170(g). Any individual who suspects a possible
         violation may file a complaint with the Ethics Commission,
         City Attorney, or District Attorney. Id. § 1.168(a); see id.
         § 1.168(b) (providing for enforcement through civil action);
         San Francisco Charter, appendix C, § C3.699-13 (Ethics
         Commission procedures for investigations and enforcement
         proceedings).
            C.      Earlier Litigation Challenging Proposition F
            In 2020, Todd David founded Yes on Prop B, Committee
         in Support of the Earthquake Safety and Emergency
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 10 of 33
         10                     NO ON E V. DAVID CHIU


         Response Bond. 2 David and Yes on Prop B challenged San
         Francisco’s secondary-contributor requirement in the lead-
         up to the March 3, 2020 election. On February 20, 2020, the
         district court enjoined the application of that requirement to
         the plaintiffs’ smaller and shorter advertisements “because
         they [left] effectively no room for pro-earthquake safety
         messaging.” Yes on Prop B v. City & County of San
         Francisco, 440 F. Supp. 3d 1049, 1051, 1062 (N.D. Cal.
         2020). The district court, however, concluded that the
         challenged ordinance was “not an unconstitutional burden
         on larger or longer advertising” and declined to enjoin the
         secondary-contributor disclaimer requirement on its face or
         as applied to the plaintiffs’ larger ads. Id. at 1051, 1061–62.
             On October 21, 2020, in an unpublished disposition, we
         dismissed the plaintiffs’ appeal on the ground of mootness.
         Yes on Prop B v. City & County of San Francisco, 826 F.
         App’x 648 (9th Cir. 2020). The plaintiffs argued that the
         “capable of repetition, yet evading review exception”
         applied, but we held that the case was moot because the
         plaintiffs had not “shown that ‘there is a reasonable
         expectation that the same complaining party will be subject
         to the same action again.’”           Id. at 649 (quoting
         Protectmarriage.com–Yes on 8 v. Bowen, 752 F.3d 827, 836
         (9th Cir. 2014)). We stressed that the record was “devoid of
         any detail” that plaintiffs would run advertisements in the
         future, particularly in the upcoming November 2020
         election. Id. Thus, we concluded that, “[a]t best, [the
         plaintiffs] have shown only that there is a theoretical


         2
           The Prop B at issue in the 2020 litigation concerned an earthquake
         safety and emergency response bond and is unrelated to the Prop B that
         was originally at issue in this litigation.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 11 of 33
                                NO ON E V. DAVID CHIU                         11


         possibility that the same controversy will recur with respect
         to them.” Id.
             D.       Current Litigation
             This action was brought by three plaintiffs: (1) No on E,
         San Franciscans Opposing the Affordable Housing
         Production Act (“the Committee”), a primarily formed
         independent expenditure committee that runs ads subject to
         the secondary-contributor requirement; 3 (2) Todd David, the
         founder and treasurer of No on E (and the founder of Yes on
         Prop B); and (3) Edwin M. Lee Asian Pacific Democratic
         Club PAC Sponsored by Neighbors for a Better San
         Francisco Advocacy (“Ed Lee Dems”), a committee and a
         direct contributor to No on E, whose major donors would be
         subject to disclosure in ads under the San Francisco
         ordinance. David established the Committee to support the
         passage of Prop B in the June 7, 2022 election. The
         Committee sought to communicate its message by
         publishing mailers, print ads in newspapers, and digital ads
         on the internet.
             As of May 10, 2022, the Committee had raised a total of
         $15,000 from three donors, each of which contributed
         $5,000. Two of those donors were committees that, in turn,
         had donors that had made contributions of more than $5,000.
         Thus, according to the examples provided by Plaintiffs, San
         Francisco’s ordinance would require the following


         3
           The lead plaintiff in this suit was known as “San Franciscans
         Supporting Prop B” throughout the district court litigation. On appeal,
         and after the conclusion of the June 7, 2022 election, the case caption
         was updated to reflect the fact that the Committee rededicated itself to
         opposing Proposition E and changed its name, as required by California
         Government Code section 84107.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 12 of 33
         12                   NO ON E V. DAVID CHIU


         disclaimer on       the    Committee’s       print   and   video
         advertisements:

                   Ad paid for by San Franciscans Supporting
                Prop. B 2022. Committee major funding from:
                 1. Concerned Parents Supporting the Recall of
              Collins, Lopez and Moliga ($5,000) – contributors
                include Neighbors for a Better San Francisco
               Advocacy Committee ($468,800), Arthur Rock
                                 ($350,000).
                    2. BOMA SF Ballot Issues PAC ($5,000).
                 3. Edwin M. Lee Asian Pacific Democratic Club
                 PAC sponsored by Neighbors for a Better San
              Francisco Advocacy ($5,000) – contributors include
                Neighbors for a Better San Francisco Advocacy
               Committee ($100,000), David Chiu for Assembly
                               2022 ($10,600).
                       Financial disclosures are available at
                                 sfethics.org.

             On May 11, 2022, Plaintiffs filed this action. Plaintiffs
         allege that the secondary-contributor disclaimer requirement
         violates the First Amendment, both on its face and as applied
         against Plaintiffs. In their prayer for relief, Plaintiffs request
         a declaration that the requirement violates the First
         Amendment, on its face and as applied to Plaintiffs; an
         injunction barring enforcement of the secondary-contributor
         requirement, in general and against Plaintiffs specifically;
         and nominal damages.
             On May 12, 2022, Plaintiffs filed a motion for a
         preliminary injunction. Plaintiffs submitted a proposed
         order requesting that the court “preliminarily [enjoin]
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 13 of 33
                              NO ON E V. DAVID CHIU                   13


         Defendants and their agents, officers, and representatives
         from enforcing against Plaintiffs the on-communication
         disclosure requirements for secondary donors at S.F. Code
         § 1.161(a).” In support of the motion for a preliminary
         injunction, David submitted a declaration stating that,
         “[b]ecause Concerned Parents and Ed Lee Dems are
         committees, they have contributed $5,000 to the Committee,
         and they both have donors who have given them $5,000 or
         more, San Francisco’s law will require that our Committee
         report those secondary donors on our communications.”
             On June 1, 2022, the district court denied Plaintiffs’
         motion. Plaintiffs timely appeal. We have jurisdiction over
         this interlocutory appeal pursuant to 28 U.S.C. § 1292.
                                 DISCUSSION
             To obtain a preliminary injunction, a plaintiff must
         establish “that he is likely to succeed on the merits, that he
         is likely to suffer irreparable harm in the absence of
         preliminary relief, that the balance of equities tips in his
         favor, and that an injunction is in the public interest.” Winter
         v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). On appeal,
         Plaintiffs argue primarily that they have demonstrated a
         likelihood of success on the merits. See Garcia v. Google,
         Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc) (“The first
         factor under Winter is the most important—likely success on
         the merits.”). Below, we address (A) mootness, (B)
         Plaintiffs’ likelihood of success on the merits, and (C) the
         remaining Winter factors.
            A.      Mootness
             Before turning to the merits, we first must establish that
         we have jurisdiction. “[A] federal court loses its jurisdiction
         to reach the merits of a claim when the court can no longer
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 14 of 33
         14                   NO ON E V. DAVID CHIU


         effectively remedy a present controversy between the
         parties.” Protectmarriage.com—Yes on 8, 752 F.3d at 836.
         Defendants maintain that, because the June 2022 election
         has occurred, Plaintiffs can no longer receive meaningful
         relief and this appeal is moot. Although the June 2022
         election has passed, this appeal is not moot because this
         controversy is “capable of repetition, yet evading review.”
         FEC v. Wis. Right to Life, Inc., 551 U.S. 449, 462 (2007).
             The “capable of repetition, yet evading review”
         exception to mootness applies when “(1) the challenged
         action is in its duration too short to be fully litigated prior to
         cessation or expiration, and (2) there is a reasonable
         expectation that the same complaining party will be subject
         to the same action again.” Id. (citation and internal quotation
         marks omitted). Defendants do not dispute that Plaintiffs
         have satisfied the first prong of that test.                  See
         Protectmarriage.com—Yes on 8, 752 F.3d at 836
         (describing an election as a controversy of inherently limited
         duration).
             “The second prong of the capable of repetition exception
         requires a reasonable expectation or a demonstrated
         probability that the same controversy will recur involving
         the same complaining party.” Wis. Right to Life, 551 U.S.
         at 463 (citation and internal quotation marks omitted). But
         that standard does not require Plaintiffs to establish a
         certainty that they will be subject to the same enforcement:
         “Requiring repetition of every ‘legally relevant’
         characteristic of an as-applied challenge—down to the last
         detail—would effectively overrule this statement by making
         this exception unavailable for virtually all as-applied
         challenges.” Id. Plaintiffs bear the burden of showing that
         the “capable of repetition” prong is satisfied. Lee v.
         Schmidt-Wenzel, 766 F.2d 1387, 1390 (9th Cir. 1985).
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 15 of 33
                                 NO ON E V. DAVID CHIU                          15


             On this record, Plaintiffs have met that burden with
         respect to at least one plaintiff. 4 David has a demonstrated
         history of establishing committees that run advertisements
         that are subject to the secondary-contributor requirement,
         and he has twice engaged in litigation on this same issue. He
         also has clearly expressed his intent to continue those
         activities, unlike the plaintiffs in the earlier suit. Plaintiffs’
         complaint alleges that David “will engage in materially and
         substantially similar activity in the future, establishing
         committees and using them to speak about San Francisco
         candidates and measures.” (Emphasis added). In support of
         Plaintiffs’ motion for a preliminary injunction, David
         averred that he “will continue to create primarily formed
         committees in future elections, to share ads and
         communications substantially and materially similar to those
         we wanted to share in 2020 and that we want to share now.”
         (Emphasis added).
             Defendants offer no persuasive reason to doubt David’s
         affidavit, which is supported by his past practice. See Wis.
         Right to Life, 551 U.S. at 463–64 (holding that there was a
         reasonable expectation that the same controversy would
         recur where plaintiff “credibly claimed that it planned on
         running ‘materially similar’ future targeted broadcast ads”
         and “sought another preliminary injunction based on an ad it
         planned to run” during another blackout period).
         Accordingly, this appeal is not moot, because it falls within
         the exception for controversies that are “capable of

         4
          Although Plaintiffs’ motion for a preliminary injunction did not include
         a facial challenge, the relief sought by Plaintiffs was not limited to the
         June 2022 election. Instead, Plaintiffs asked the court to preliminarily
         enjoin Defendants from enforcing the secondary-contributor
         requirement against Plaintiffs indefinitely.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 16 of 33
         16                  NO ON E V. DAVID CHIU


         repetition, yet evading review.” See Hum. Life of Wash.
         Inc. v. Brumsickle, 624 F.3d 990, 1001–02 (9th Cir. 2010)
         (concluding that there was a reasonable expectation that the
         controversy would recur because the plaintiff was a
         politically active organization that had been heavily
         involved in public debates in the past and intended to
         undertake future communications); Porter v. Jones, 319 F.3d
         483, 490 (9th Cir. 2003) (rejecting mootness argument
         because plaintiff had expressed intent to create a similar
         website in future elections); Baldwin v. Redwood City, 540
         F.2d 1360, 1365 (9th Cir. 1976) (holding that an issue is
         “capable of repetition, yet evading review” where the record
         established that plaintiff had continuing interest in and past
         practices of participating in local political campaigns by
         creating signs).
              B.    Likelihood of Success on the Merits
             Plaintiffs seek a preliminary injunction on the ground
         that the secondary-contributor disclaimer requirement
         violates the First Amendment. We hold that the district court
         acted within its discretion to conclude that Plaintiffs did not
         establish a likelihood of success on the merits.
             The district court applied “exacting scrutiny,” which
         “requires a ‘substantial relation’ between the disclosure
         requirement and a ‘sufficiently important’ governmental
         interest.” Citizens United v. FEC, 558 U.S. 310, 366–67
         (2010) (quoting Buckley v. Valeo, 424 U.S. 1, 64 (1976) (per
         curiam)). On de novo review, Fyock, 779 F.3d at 995, we
         hold that exacting scrutiny is the correct legal standard.
             Regardless of the beliefs sought to be advanced by
         association, “compelled disclosure requirements are
         reviewed under exacting scrutiny.” Ams. for Prosperity
         Found. v. Bonta, 141 S. Ct. 2373, 2383 (2021) (opinion of
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 17 of 33
                                  NO ON E V. DAVID CHIU                           17


         Roberts, C.J.); see also id. at 2396 (applying exacting
         scrutiny to First Amendment challenge to compelled
         disclosure) (Sotomayor, J., dissenting). In the electoral
         context, both the Supreme Court and our court have
         consistently applied exacting scrutiny to compelled
         disclosure requirements and on-advertisement disclaimer
         requirements. See Citizens United, 558 U.S. at 366–67
         (holding that disclaimer and disclosure requirements are
         subject to exacting scrutiny); John Doe No. 1 v. Reed, 561
         U.S. 186, 196 (2010) (applying exacting scrutiny to
         disclosure requirement); Buckley, 424 U.S. at 64 (requiring
         that compelled disclosure requirements survive exacting
         scrutiny); Davis v. FEC, 554 U.S. 724, 744 (2008)
         (evaluating whether disclosure requirements satisfy exacting
         scrutiny); Brumsickle, 624 F.3d at 1005 (applying exacting
         scrutiny to Washington law that required disclaimers on
         political advertising and disclosure of certain contributions
         and expenditures); see also Family PAC v. McKenna, 685
         F.3d 800, 805–06 (9th Cir. 2012) (“Disclosure requirements
         are subject to exacting scrutiny.”). 5
             Plaintiffs’ argument to the contrary is unavailing.
         Plaintiffs take the position that disclaimer and disclosure are
         “terms of art,” and argue that the City’s ordinance should be
         reviewed under strict scrutiny because it is a “hybrid
         disclaimer/disclosure requirement.” But Plaintiffs cite no


         5
           In ACLU of Nevada v. Heller, 378 F.3d 979 (9th Cir. 2004), we held
         that strict scrutiny applied to statutes that affect the content of election
         communications. 378 F.3d at 987. But we have since acknowledged
         that intervening Supreme Court decisions clarified that we apply
         exacting scrutiny to disclosure and disclaimer requirements. See
         Brumsickle, 624 F.3d at 1005 (citing John Doe No. 1, 561 U.S. at 196,
         and Citizens United, 558 U.S. at 366–67).
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 18 of 33
         18                      NO ON E V. DAVID CHIU


         authority that makes a similar distinction.6 Indeed, they
         acknowledge that the Supreme Court has applied exacting
         scrutiny to both disclosure rules, John Doe No. 1, 561 U.S.
         at 196, and disclaimer requirements, Citizens United, 558
         U.S. at 366–67.
             The concerns that Plaintiffs suggest are uniquely
         implicated in this case animate the entirety of the exacting
         scrutiny standard: “This type of scrutiny is necessary even
         if any deterrent effect on the exercise of First Amendment
         rights arises, not through direct government action, but
         indirectly as an unintended but inevitable result of the
         government’s conduct in requiring disclosure.” Buckley,
         424 U.S. at 65. Courts have upheld other laws, even where
         there was some deterrent effect, because “[d]isclaimer and
         disclosure requirements may burden the ability to speak, but
         they ‘impose no ceiling on campaign-related activities,’
         Buckley, 424 U.S., at 64, and ‘do not prevent anyone from
         speaking,’ McConnell v. FEC, 540 U.S. 93, 201 (2003).”
         Citizens United, 558 U.S. at 366 (citations altered). Any
         argument that the secondary-contributor requirement
         violates the First Amendment because of the length and


         6
           Citing Americans for Prosperity Foundation v. Bonta, Plaintiffs further
         argue that San Francisco’s “hybrid” requirement should be reviewed
         under strict scrutiny because “[t]he Supreme Court recently signaled that
         it may be increasing the scrutiny given to any disclosure regime.” This
         reading of Americans for Prosperity Foundation clashes with a plain
         reading of the case and the manner in which other courts have applied it
         to disclaimer laws. See, e.g., Gaspee Project v. Mederos, 13 F.4th 79,
         95 (1st Cir. 2021), cert. denied, 142 S. Ct. 2647 (2022); Smith v. Helzer,
         No. 3:22-CV-00077-SLG, 2022 WL 2757421, at *10 (D. Alaska July 14,
         2022), appeal docketed, No. 22-35612 (9th Cir. argued Feb. 9, 2023).
         We hold that Americans for Prosperity Foundation does not alter the
         existing exacting scrutiny standard.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 19 of 33
                              NO ON E V. DAVID CHIU                   19


         content of the disclaimer is appropriately addressed as part
         of the exacting scrutiny analysis.
             To survive exacting scrutiny, a law must satisfy all three
         steps of the inquiry. The threshold question is whether there
         is a “substantial relation” between the challenged law and a
         “sufficiently important” governmental interest. Citizens
         United, 558 U.S. at 366–67 (citation and internal quotation
         marks omitted); see Ams. for Prosperity Found., 141 S. Ct.
         at 2384 (describing a substantial relation as “necessary but
         not sufficient”). Next, “[t]o withstand this scrutiny, the
         strength of the governmental interest must reflect the
         seriousness of the actual burden on First Amendment
         rights.” Ams. for Prosperity Found., 141 S. Ct. at 2383
         (quoting John Doe No. 1, 561 U.S. at 196) (internal
         quotation marks omitted). Finally, “[w]hile exacting
         scrutiny does not require that disclosure regimes be the least
         restrictive means of achieving their ends, it does require that
         they be narrowly tailored to the government’s asserted
         interest.” Id.
             Below, we assess (1) the relation between the secondary-
         contributor disclaimer requirement and the governmental
         interest; (2) whether the strength of that interest reflects the
         seriousness of the burden on Plaintiffs’ First Amendment
         rights; and (3) whether San Francisco’s ordinance is
         narrowly tailored to that interest.
                1. Relation Between the Secondary-Contributor
                   Disclaimer Requirement and Defendants’
                   Interest
             Defendants take the position that the secondary-
         contributor requirement serves their interest in providing
         information to voters about the source of election-related
         spending. A committee can circumvent California’s on-
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 20 of 33
         20                  NO ON E V. DAVID CHIU


         advertisement disclaimer requirement and avoid including
         its top donors in a disclaimer by providing funding to another
         committee instead of running an advertisement directly.
         Defendants contend that the secondary-contributor
         requirement satisfies voters’ need for additional information
         by making it more difficult to hide the sources of funding for
         political advertisements.
             Courts have long recognized the governmental interest
         in the disclosure of the sources of campaign funding:

                [D]isclosure provides the electorate with
                information as to where political campaign
                money comes from and how it is spent by the
                candidate in order to aid the voters in
                evaluating those who seek federal office. It
                allows voters to place each candidate in the
                political spectrum more precisely than is
                often possible solely on the basis of party
                labels and campaign speeches. The sources
                of a candidate’s financial support also alert
                the voter to the interests to which a candidate
                is most likely to be responsive and thus
                facilitate predictions of future performance in
                office.

         Buckley, 424 U.S. at 66–67 (internal quotation marks and
         citation omitted); see Cal. Pro-Life Council, Inc. v.
         Randolph, 507 F.3d 1172, 1179 n.8 (9th Cir. 2007) (“[I]n the
         context of disclosure requirements, the government’s
         interest in providing the electorate with information related
         to election and ballot issues is well-established.”), abrogated
         on other grounds as stated in Brumsickle, 624 F.3d at 1013.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 21 of 33
                             NO ON E V. DAVID CHIU                 21


             “[T]he people in our democracy are entrusted with the
         responsibility for judging and evaluating the relative merits
         of conflicting arguments.” First Nat’l Bank of Boston v.
         Bellotti, 435 U.S. 765, 791 (1978). As the role of money in
         politics has expanded, the public is faced with a “cacophony
         of political communications through which . . . voters must
         pick out meaningful and accurate messages.” Cal. Pro-Life
         Council, Inc. v. Getman, 328 F.3d 1088, 1105 (9th Cir.
         2003).       Understanding what entity is funding a
         communication allows citizens to make informed choices in
         the political marketplace. Alaska Right to Life Comm. v.
         Miles, 441 F.3d 773, 793 (9th Cir. 2006); see Bellotti, 435
         U.S. at 791–92 (“[The public] may consider, in making their
         judgment, the source and credibility of the advocate.”);
         Getman, 328 F.3d at 1105 (“Given the complexity of the
         issues and the unwillingness of much of the electorate to
         independently study the propriety of individual ballot
         measures, we think being able to evaluate who is doing the
         talking is of great importance.”).
             We have “repeatedly recognized an important (and even
         compelling) informational interest in requiring ballot
         measure committees to disclose information about
         contributions.” Family PAC, 685 F.3d at 806. Disclosure
         of who is speaking “enables the electorate to make informed
         decisions and give proper weight to different speakers and
         messages.” Citizens United, 558 U.S. at 371. “An appeal to
         cast one’s vote a particular way might prove persuasive
         when made or financed by one source, but the same
         argument might fall on deaf ears when made or financed by
         another.” Brumsickle, 624 F.3d at 1008. Thus, we conclude
         that, as in other cases, Defendants have a strong
         governmental interest in informing voters about who funds
         political advertisements.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 22 of 33
         22                  NO ON E V. DAVID CHIU


             It follows that the secondary-contributor requirement is
         substantially related to that interest. We have previously
         recognized that providing information to the electorate may
         require looking beyond the named organization that runs the
         advertisement. In ACLU of Nevada v. Heller, 378 F.3d 979
         (9th Cir. 2004), for example, the plaintiffs challenged a
         Nevada statute that required printed election-related
         communications to include the names of the businesses,
         social organizations, or legal entities responsible for those
         communications. 378 F.3d at 981–83. We recognized that
         “individuals and entities interested in funding election-
         related speech often join together in ad hoc organizations
         with creative but misleading names.” Id. at 994. Thus, we
         concluded that, “[w]hile reporting and disclosure
         requirements can expose the actual contributors to such
         groups and thereby provide useful information concerning
         the interests supporting or opposing a ballot proposition or a
         candidate, simply supplying the name and address of the
         organization on the communication itself does not provide
         useful information—and that is all the Nevada Statute
         requires.” Id.
             While Heller is an anonymous speech case, we agree
         with Heller’s reasoning, and find it relevant to the election
         disclaimer context. The interests in “where political
         campaign money comes from,” Buckley, 424 U.S. at 66
         (citation omitted), and “in learning who supports and
         opposes ballot measures,” Family PAC, 685 F.3d at 806,
         extend beyond just those organizations that support a
         measure or candidate directly. Plaintiffs do not challenge
         California’s law that requires an on-advertisement
         disclaimer listing the top three donors to a committee. But
         those donors are often committees in their own right. The
         secondary-contributor requirement is designed to go beyond
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 23 of 33
                             NO ON E V. DAVID CHIU                  23


         the “ad hoc organizations with creative but misleading
         names” and instead “expose the actual contributors to such
         groups.” Heller, 378 F.3d at 994; see McConnell v. FEC,
         540 U.S. 93, 128 (2003) (noting that “sponsors of [political]
         ads often used misleading names to conceal their identity”
         and providing examples), overruled on other grounds by
         Citizens United, 558 U.S. at 365–66. In the context of San
         Francisco municipal elections, Defendants show that donors
         to local committees are often committees themselves and
         that committees often obscure their actual donors through
         misleading and even deceptive committee names. Because
         the interest in learning the source of funding for a political
         advertisement extends past the entity that is directly
         responsible, the challenged ordinance is substantially related
         to the governmental interest in informing the electorate.
             Notwithstanding that relationship, Plaintiffs contend that
         the challenged ordinance actually undermines that interest.
         They take the position that the secondary-contributor
         requirement could cause confusion because a committee
         must list donors who may not have any position on the issue
         that the ad is addressing or who may not have known that
         their donation would be used to promote those views. But
         Plaintiffs provide no factual basis for their assumption that
         San Francisco voters are unable to distinguish between
         supporting a group that broadcasts a statement and
         supporting the statement itself. See Wash. State Grange v.
         Wash. State Republican Party, 552 U.S. 442, 454–55 (2008)
         (requiring more than “sheer speculation” of voter
         confusion). Additionally, adopting Plaintiffs’ position could
         call into question the logic underlying decisions that uphold
         disclosure and disclaimer requirements as applied to primary
         donors. Those cases emphasize that the laws at issue further
         the governmental interest in revealing the source of
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 24 of 33
         24                  NO ON E V. DAVID CHIU


         campaign funding, not ensuring that every donor agrees with
         every aspect of the message. Brumsickle, 624 F.3d at 1005–
         08; Getman, 328 F.3d at 1104–07.
             Plaintiffs’ final argument—that any informational
         interest furthered by San Francisco’s ordinance is
         outweighed by the corresponding limitation on time
         available for other speech—is similarly unavailing. It is
         well-established that “[d]isclaimer and disclosure
         requirements may burden the ability to speak, but they
         impose no ceiling on campaign-related activities, and do not
         prevent anyone from speaking.” Citizens United, 558 U.S.
         at 366 (internal quotation marks and citations omitted).
         Even if Plaintiffs are correct that the governmental interest
         is somewhat diminished in this instance because the
         challenged ordinance requires disclosure of secondary
         contributors instead of direct donors, that principle still
         applies.
             Thus, we hold that the district court did not abuse its
         discretion by concluding that the secondary-contributor
         disclaimer requirement is substantially related to
         Defendants’ informational interest.
                2. Burden On First Amendment Rights
             “To withstand [exacting] scrutiny, ‘the strength of the
         governmental interest must reflect the seriousness of the
         actual burden on First Amendment rights.’” John Doe No.
         1, 561 U.S. at 196 (quoting Davis, 554 U.S. at 744). It is
         well-established that there is an important governmental
         interest in providing voters with information about the
         source of funding for political advertisements. Buckley, 424
         U.S. at 66–67; Heller, 378 F.3d at 994; Family PAC, 685
         F.3d at 806. Given the strength of that interest, we are not
         persuaded by either of Plaintiffs’ arguments that San
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 25 of 33
                             NO ON E V. DAVID CHIU                   25


         Francisco’s ordinance impermissibly burdens their First
         Amendment rights.
             First, Plaintiffs assert that the required disclaimer
         displaces an excessive amount of speech. According to
         David, the spoken disclaimer would take up 100% of a 15-
         second ad, 100% of a 30-second ad, and 53-55% of a 60-
         second ad. David averred that the written disclaimer on
         video ads would take up between 35% and 51% of the screen
         for either 10 seconds of an ad that is 30 seconds or longer,
         or the first 5 seconds of a shorter ad. Finally, David declared
         that the required disclaimer would take up 100% of a two-
         inch by four-inch ad, 70% of a five-inch by five-inch ad,
         35% of a five-inch by ten-inch ad, and 23% of the face of an
         8.5-inch by 11-inch mailer. Defendants dispute that
         disclaimers required by the ordinance would take up the
         majority of the space on most committee’s advertisements.
         In any event, Defendants have consistently stated that they
         would not enforce the disclaimer requirement where
         disclaimers take up most or all of an advertisement’s space.
              In Citizens United, the Supreme Court upheld a law that
         required 40% of an advertisement to be devoted to a
         disclaimer. 558 U.S. at 320, 366, 367–68. In the earlier
         litigation challenging San Francisco’s ordinance, the district
         court relied on that precedent and denied the plaintiffs’
         request for an injunction with respect to the larger ads. Yes
         on Prop B, 440 F. Supp. 3d at 1056–57. Although the court
         declined to establish a mathematical formula, it concluded
         that the secondary-contributor requirement was not unduly
         burdensome for larger ads, in which the disclaimer took up
         less than 40% of the ad. Id. The court found that, for larger
         ads, the remaining space was sufficient to communicate the
         plaintiffs’ political message. Id. We find that reasoning to
         be persuasive. Plaintiffs have not shown that they are likely
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 26 of 33
         26                      NO ON E V. DAVID CHIU


         to succeed on the merits of their argument that the
         secondary-contributor requirement is an impermissible
         burden on speech because the size of the disclaimer is
         excessive with respect to larger ads. 7
              Shorter ads warrant a different analysis. In the earlier
         litigation, the district court enjoined San Francisco’s
         ordinance with respect to smaller advertisements because the
         burden on speech was too great. Yes on Prop B, 440 F. Supp.
         3d at 1055–56. But, in this litigation, the district court
         denied the entirety of Plaintiffs’ motion for an injunction.
         Even if we assume that we agree with the district court’s
         conclusion that the secondary-contributor requirement likely
         causes constitutional issues with respect to shorter ads, the
         district court was within its discretion to conclude that any
         burden on speech did not require a preliminary injunction in
         this instance.
            In the earlier litigation, the City took the position that it
         would not enforce the requirement with respect to shorter


         7
           Plaintiffs rely heavily on American Beverage Association v. City &
         County of San Francisco, 916 F.3d 749 (9th Cir. 2019) (en banc), to
         support their assertion that the size of the disclaimer is excessive here.
         But American Beverage is inapposite. The court in American Beverage
         was applying the Zauderer test, a separate inquiry that requires the
         defendant to prove that compelled commercial speech was neither
         unjustified nor unduly burdensome. Am. Bev., 916 F.3d at 756 (citing
         Zauderer v. Off. of Disciplinary Couns., 471 U.S. 626, 651 (1985), and
         Nat’l Inst. of Family & Life Advocs. v. Becerra (NIFLA), 138 S. Ct.
         2361, 2372, 2377 (2018)). That test differs from exacting scrutiny
         review, which applies to disclaimer and disclosure requirements in the
         electoral context. Citizens United, 558 U.S. at 366–67; see id., 558 U.S.
         at 422 (“The election context is distinctive in many ways[.]” (Stevens,
         J., concurring)); Gaspee Project, 13 F.4th at 95 (“The election-related
         context implicated here is alone sufficient to distinguish NIFLA”).
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 27 of 33
                              NO ON E V. DAVID CHIU                    27


         ads, and the district court granted an injunction to that effect.
         Yes on Prop B, 440 F. Supp. 3d at 1055. When Plaintiffs
         moved for an injunction in this action, Defendants offered to
         agree not to enforce San Francisco’s ordinance with respect
         to print ads that were five-inches by five-inches or smaller,
         or to spoken disclaimers on digital and audio advertisements
         of 60 seconds or less. After Plaintiffs refused that offer,
         Defendants again took the position that they would not
         enforce the challenged ordinance with respect to shorter ads
         in which the “required disclaimer would consume the
         majority of Plaintiffs’ advertisement.” In light of that
         commitment, San Francisco’s ordinance does not burden
         Plaintiffs such that “the intervention of a court of equity is
         essential in order effectually to protect . . . rights against
         injuries otherwise irremediable.” Weinberger v. Romero-
         Barcelo, 456 U.S. 305, 312 (1982) (citation and internal
         quotation marks omitted).
             The second burden identified by Plaintiffs—that the
         secondary-contributor requirement violates their right to
         freedom of association and drives away potential donors—
         is likewise insufficient to outweigh the strength of the
         governmental interests. “It is undoubtedly true that public
         disclosure of contributions to candidates and political parties
         will deter some individuals who might otherwise
         contribute.” Buckley, 424 U.S. at 68. But to support an
         exemption from a compelled disclosure requirement,
         Plaintiffs must show more than a “modest burden.” Family
         PAC, 685 F.3d at 808; see Ams. for Prosperity Found., 141
         S. Ct. at 2388–89 (concluding that petitioners had shown a
         “widespread burden on donors’ associational rights” where
         there was evidence that petitioners and their supporters had
         been subjected to “bomb threats, protests, stalking, and
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 28 of 33
         28                  NO ON E V. DAVID CHIU


         physical violence,” and hundreds of organizations expressed
         that they shared the petitioners’ concerns).
             Plaintiffs provided only two declarations in support of
         their contention that San Francisco’s ordinance burdens their
         right to freedom of association. David asserts that
         “[p]otential donors have expressed concern to me about the
         secondary disclosure rules and are more reluctant to
         contribute to committees where their donors need to be
         disclosed.” Ed Lee Dems asserts that it would have to
         withdraw its donations from the Committee and would have
         its own fundraising challenges if donors thought that their
         names might become public through the secondary-
         contributor requirement.
             The district court was within its discretion to conclude
         that Plaintiffs failed to demonstrate that the secondary-
         contributor requirement “actually and meaningfully deter[s]
         contributors.” Family PAC, 685 F.3d at 807. Plaintiffs have
         not provided evidence of any specific deterrence beyond
         some donors’ alleged desire not to have their names listed in
         an on-advertisement disclaimer. See Family PAC, 685 F.3d
         at 806–08 (concluding that disclosure requirements
         presented only a modest burden without a showing of a
         significant risk of harassment or retaliation). That level of
         hesitation on the part of donors is insufficient to establish
         that the “deterrent effect feared by [Plaintiffs] is real and
         pervasive.” Ams. for Prosperity Found., 141 S. Ct. at 2388.
             Adopting Plaintiffs’ view that a modest burden on their
         right to associate anonymously outweighs the informational
         interest would “ignore[] the competing First Amendment
         interests of individual citizens seeking to make informed
         choices in the political marketplace.” McConnell, 540 U.S.
         at 197 (quoting McConnell v. FEC, 251 F. Supp. 2d 176, 237
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 29 of 33
                             NO ON E V. DAVID CHIU                   29


         (D.D.C. 2003)), overruled in part on other grounds by
         Citizens United, 558 U.S. at 365–66. The modest burden
         imposed on the Plaintiffs is permissible when contrasted
         with the alternative: “Plaintiffs never satisfactorily answer
         the question of how uninhibited, robust, and wide-open
         speech can occur when organizations hide themselves from
         the scrutiny of the voting public.” Id. (internal quotation
         marks omitted).
                3. Narrow Tailoring
             Under exacting scrutiny, “the challenged requirement
         must be narrowly tailored to the interest it promotes.” Ams.
         for Prosperity Found., 141 S. Ct. at 2384. But this standard
         does not require “the least restrictive means of achieving that
         end.” Id. Despite the close fit between San Francisco’s
         ordinance and the government’s informational interest,
         Plaintiffs present two different arguments as to why the
         secondary-contributor requirement is insufficiently tailored.
         Neither argument is persuasive.
             First, Plaintiffs argue that the requirement fails narrow
         tailoring because there are other available alternatives, such
         as making the same information available in an online
         database. That suggestion misunderstands the relevant
         standard. The secondary-contributor requirement must have
         a scope “in proportion to the interest served,” but it need not
         represent the “single best disposition.” McCutcheon v. FEC,
         572 U.S. 185, 218 (2014) (plurality opinion) (internal
         quotation marks omitted). Case law and scholarly research
         support the proposition that, because of its instant
         accessibility, an on-advertisement disclaimer is a more
         effective method of informing voters than a disclosure that
         voters must seek out. See Gaspee Project, 13 F.4th at 91
         (holding that an on-ad donor disclaimer is “not entirely
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 30 of 33
         30                   NO ON E V. DAVID CHIU


         redundant to the donor information revealed by public
         disclosures” because it “provides an instantaneous heuristic
         by which to evaluate generic or uninformative speaker
         names”), cert. denied, 142 S. Ct. 2647 (2022); Majors v.
         Abell, 361 F.3d 349, 353 (7th Cir. 2004) (reasoning that
         because fewer people are likely to see reports to government
         agencies than notice in the ad itself, “reporting [is] a less
         effective method of conveying information”); Michael
         Kang, Campaign Disclosure in Direct Democracy, 97 Minn.
         L. Rev. 1700, 1718 (2013) (“Research from psychology and
         political science finds that people are skilled at crediting and
         discrediting the truth of a communication when they have
         knowledge about the source, but particularly when they have
         knowledge about the source at the time of the
         communication as opposed to subsequent acquisition.”).
         Given the realities of voters’ decision-making processes
         amidst a “cacophony” of electoral communications,
         Getman, 328 F.3d at 1105–06, the district court was within
         its discretion to conclude that the secondary-contributor
         requirement has a scope in proportion to the City’s objective.
             Plaintiffs’ second argument—that the requirement is not
         limited to donations that are earmarked for electioneering—
         does not change that conclusion. Plaintiffs cite two out-of-
         circuit cases in which courts concluded that disclosure laws
         were narrowly tailored, in part because the laws applied only
         to donations that were earmarked for electioneering. See
         Indep. Inst. v. Williams, 812 F.3d 787, 797 (10th Cir. 2016)
         (upholding Colorado constitutional provision that only
         required disclosure of donors who have specifically
         earmarked their contributions for electioneering purposes);
         Indep. Inst. v. FEC, 216 F. Supp. 3d 176, 190–92 (D.D.C.
         2016) (three-judge panel holding that a large-donor
         disclosure requirement limited to donors who contribute
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 31 of 33
                                 NO ON E V. DAVID CHIU                          31


         $1,000 or more for the specific purpose of supporting the
         advertisement is tailored to advance the government’s
         interest in informing the electorate of the source of the
         advertisement). 8 Those courts upheld laws that required
         only disclosure of earmarked contributions. But neither
         court suggested that, or had occasion to consider whether, a
         law fails narrow tailoring unless it is limited to the disclosure
         of earmarked contributions.
             And even though San Francisco’s ordinance goes
         beyond donations that are earmarked for electioneering, it
         does not have an unconstrained reach. The challenged
         ordinance requires an on-advertisement disclaimer listing
         only the top donors to a committee that is, in turn, a top donor
         to a primarily formed committee. S.F. Code § 1.161(a)(1).
         Under California law, a primarily formed committee is
         formed or exists primarily to support candidates or ballot
         measures. Cal. Gov’t Code § 82047.5. By donating to a
         primarily formed committee, a secondary committee
         necessarily is making an affirmative choice to engage in
         election-related activity.
            If a secondary committee were to purchase and run an
         advertisement opposing a ballot measure directly, its top

         8
           Plaintiffs also cite Van Hollen, Jr. v. FEC, 811 F.3d 486 (D.C. Cir.
         2016), in which the D.C. Circuit considered a challenge to an FEC rule
         requiring corporations and labor organizations to disclose only donations
         “made for the purpose of furthering electioneering communications”
         instead of all donations. 811 F.3d at 488 (citation and internal quotation
         marks omitted). But because the court in Van Hollen did not consider
         whether a campaign finance law violated the First Amendment, we do
         not find its analysis to be persuasive. See id. at 495, 501 (holding that
         the FEC’s rule is consistent with the text, history, and purposes of the
         authorizing statute and is not an arbitrary and capricious exercise of the
         FEC’s regulatory authority).
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 32 of 33
         32                   NO ON E V. DAVID CHIU


         donors could be subject to California’s disclaimer
         requirements, which Plaintiffs do not challenge. The
         application of that law does not depend on whether the top
         donors earmarked their contributions for electioneering, or
         on whether they support the content of the advertisement.
         The City’s ordinance does not violate narrow tailoring just
         because the secondary committee funneled its donations
         through a separate committee instead of running its own
         advertisements.
              Additionally, even if Plaintiffs’ challenge to the City’s
         requirement were to succeed, the secondary donors still
         would be subject to disclosure and publicly visible on
         government websites. Plaintiffs do not challenge those
         public disclosures of secondary donors, which occur whether
         or not the donors earmarked their contributions. Assuming
         that those disclosures are permissible, as Plaintiffs do by
         failing to challenge their validity, we are not persuaded that
         a law requiring those same donors to be named in an on-
         advertisement disclaimer is insufficiently tailored.
             Thus, we hold that the district court was within its
         discretion to conclude that Plaintiffs did not establish a
         likelihood of success on the merits.
              C.    Remaining Preliminary Injunction Factors
             The district court concluded that none of the remaining
         Winter factors weighed in favor of an injunction, in part
         because Plaintiffs’ argument as to those factors largely relied
         on their position that they had demonstrated a likelihood of
         success on the merits. The same is true on appeal. We hold
         that the district court did not abuse its discretion by reaching
         that conclusion.
Case: 22-15824, 03/08/2023, ID: 12669422, DktEntry: 40-1, Page 33 of 33
                              NO ON E V. DAVID CHIU                   33


             Without an injunction, Plaintiffs likely would be injured
         by the loss of some First Amendment freedoms, Elrod v.
         Burns, 427 U.S. 347, 373 (1976) (plurality opinion), but that
         injury would be modest, Family PAC, 685 F.3d at 806.
         Defendants, however, have established that there is a strong
         public interest in providing voters with the information of
         who supports ballot measures. Brumsickle, 624 F.3d at
         1008. Thus, the public interest and the balance of hardships
         weigh in favor of Defendants. See FTC v. Affordable
         Media, LLC, 179 F.3d 1228, 1236 (9th Cir. 1999) (“Under
         this Circuit’s precedents, ‘when a district court balances the
         hardships of the public interest against a private interest, the
         public interest should receive greater weight.’” (quoting
         FTC v. World Wide Factors, Ltd., 882 F.2d 344, 347 (9th
         Cir. 1989))).
            AFFIRMED.
